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                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION


UNITED STATES OF AMERICA, )
    Plaintiff,            )
                          )
v.                        )                No. 21 CR 698
                          )                The Hon. Judge Gettleman
RONALD MOLO,              )
    Defendant.            )



      RONALD MOLO’S LEAVE TO FILE MOTION UNDER SEAL
              PURSUANT TO LOCAL RULE 26.2

      NOW COMES Defendant, RONALD MOLO, through his counsel,

JOSHUA B. ADAMS, and respectfully requests this Honorable Court to

permit Mr. Molo to file the attached exhibit under seal, because it contains

sensitive and confidential records.

                                           Respectfully submitted,


                                           /s/Joshua B. Adams
                                           Joshua B. Adams
                                           Counsel for Ronald Molo

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